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December 29, 2020



VIA ECF                                          MEMORANDUM ENDORSED
Honorable Gregory H. Woods
United States District Judge
United States District Court for the Southern District of New York
500 Pearl St.
New York, NY 10007

Re:    Horrabin v. The Walt Disney Company, et al., No. 1:19-cv-07303

Dear Judge Woods:

       We represent defendants, The Walt Disney Company and 21st Century Fox (together,
“Defendants”) in the above-referenced action. We write in connection with the parties’ previous
December 22, 2020 conference before the Court and the anticipated submission of their revised
FLSA/NYLL settlement agreement and corresponding stipulation of dismissal (“FLSA/NYLL
Settlement Agreement”) in accordance with the Court’s directives.

        While the parties had hoped to file the FLSA/NYLL Settlement Agreement for the Court’s
approval by December 29, 2020, due to the holiday schedules of certain of Defendants’
representatives authorized to execute such agreement, the parties respectfully request an
additional seven (7) days to file the same with the Court. The parties do not anticipate a need to
request any further extensions in this connection.

       We thank Your Honor for your consideration of this request.

                                  Respectfully submitted,

                                  /s/ Jonathan Stoler

                                  Jonathan Stoler
                                  for SHEPPARD, MULLIN, RICHTER & HAMPTON LLP


cc:    Counsel of Record


 Application granted. The Court expects that the parties will file the executed FLSA/NYLL Settlement
 Agreement by January 5, 2021.
 SO ORDERED.

 Dated: December 29, 2020                           _____________________________________
                                                           GREGORY H. WOODS
                                                          United States District Judge
